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COUNSEL TO THE DEBTORS AND
DEBTORS IN POSSESSION

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                       §
In re:                                                 §        Chapter 11
                                                       §
Senior Care Centers, LLC, et al.,1                     §        Case No. 18-33967 (BJH)
                                                       §
                          Debtors.                     §        (Jointly Administered)
                                                       §

            DEBTORS’ OMNIBUS OBJECTION TO VARIOUS INDIVIDUAL
         PLAINTIFF-LITIGANTS’ MOTIONS FOR RELIEF FROM AUTOMATIC
                        STAY TO CONTINUE LITIGATION

         The above-captioned debtors and debtors in possession (the “Debtors”) hereby file this

omnibus objection (the “Objection”) to the Motion for Relief from the Automatic Stay to

Continue Litigation [Docket No. 266] and Motion for Relief from Automatic Stay to Continue

Litigation [Docket No. 268] (the “Lift Stay Motions”). In support of this Objection, the Debtors,

by and through their undersigned counsel, respectfully represent as follows:




1
   A list of the Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, is attached hereto as Exhibit A. The Debtors’ mailing address is 600 North Pearl Street, Suite
1100, Dallas, Texas 75201.



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                                 JURISDICTION AND VENUE

         1.      This Court has jurisdiction to consider this Objection under 28 U.S.C. §§ 157

and 1334. This is a core proceeding under 28 U.S.C. § 157(b). The Debtors consent to entry of a

final order under Article III of the United States Constitution.

         2.      Venue is proper in this District under 28 U.S.C. §§ 1408 and 1409.

                                         BACKGROUND

         3.      On December 4, 2018 (the “Petition Date”), each of the Debtors filed a

voluntary petition in this Court commencing a case for relief under chapter 11 of the Bankruptcy

Code (the “Chapter 11 Cases”).

         4.      The factual background regarding the Debtors, including their business

operations, their capital and debt structures, and the events leading to the filing of the Chapter 11

Cases, is set forth in detail in the Declaration of Kevin O’Halloran, Chief Restructuring Officer

of Senior Care Centers, LLC, in Support of Chapter 11 Petitions and First Day Pleadings, filed

concurrently herewith [Docket No. 25] (the “First Day Declaration”) and fully incorporated

herein by reference.

         5.      The Debtors continue to manage and operate their business as debtors in

possession pursuant to Bankruptcy Code sections 1107 and 1108.

         6.      No trustee or examiner has been requested in the Chapter 11 Cases.

         7.      On December 14, 2018, the Office of the United States Trustee for the Northern

District of Texas appointed an official committee of unsecured creditors in these Chapter 11

Cases (the “Committee”).

         8.      On January 7, 2019, counsel for both David Riley and Jackie Waldron (the

“Individual Plaintiffs”) filed the Lift Stay Motions.




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         9.      Pursuant to the Lift Stay Motions, “Movant seeks to modify the automatic stay

to permit the [litigation] to continue through judgment, settlement and any appeals provided that

Movant shall not seek to collect any judgment or settlement except from any applicable policy of

insurance.”

                                     RELIEF REQUESTED

         10.     By this Objection, the Debtors respectfully request that the Court deny the relief

requested in the Lift Stay Motions and continue to impose the requirements of the automatic stay

on Individual Plaintiffs.

                             BASIS FOR RELIEF REQUESTED

         11.     The Debtors are parties to approximately 400 prepetition litigation matters, the

majority of which are personal injury lawsuits.

         12.     In principle, the Debtors are not opposed to relief similar to that requested by

the Individual Plaintiffs, where such litigants would be required to waive all claims against the

Debtors’ estates and only be authorized to pursue recovery from the Debtors’ insurance carriers.

However, there are several considerations that need to be accounted for in crafting the

appropriate relief.

         13.     As an initial matter, for each occurrence or claim, the Debtors generally have to

pay a deductible in the amount of approximately $100,000. Although the Individual Plaintiffs are

properly proposing to solely pursue the Debtors’ insurance carriers, those insurance carriers will

ultimately seek reimbursement from the Debtors’ estates for the deductibles. Thus, the relief

requested in the Lift Stay Motions does not entirely account for the reality that the Debtors

would still be liable for a certain amount. As such, to provide the Individual Plaintiffs the relief

they are seeking, which is an ability to continue the litigation without implicating the Debtors’




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estates, there must be a mechanism whereby the litigants effectively indemnify the Debtors for

any amounts that the Debtors expend for the deductible amounts. That relief would give effect to

the Individual Plaintiffs’ intention to solely pursue recovery from the Debtors’ insurance carriers.

         14.     Additionally, with the sheer volume of prepetition plaintiffs litigating against

the Debtors, the Debtors respectfully request the opportunity to establish a form of universal

dispute resolution procedures for these types of claims. These dispute resolution procedures

would greatly benefit the Debtors’ estates, as well as the individual litigants, by efficiently

streamlining the manner in which these types of claims are resolved and providing certainty and

control as to their liquidation. Although liquidating these claims could be handled more

efficiently in this Court, this Court may not have jurisdiction to adjudicate these types of

personal injury claims. Accordingly, the Debtors propose to file a form of alternative dispute

resolution procedures similar to those adopted by the United States District Court for the

Northern District of Texas in other matters. Thus, the automatic stay should not be lifted at this

point in time and the Individual Plaintiffs should be required to go through those procedures

along with all other similarly situated litigants. The Lift Stay Motions should be denied at this

time.

                                CONSENT TO JURISDICTION

         15.     The Debtors consent to the entry of a final judgment or order, with respect to

this Objection, if it is determined that the Court would lack Article III jurisdiction to enter such

final order or judgment absent consent of the parties.

                                             NOTICE

         16.     Notice of this Objection shall be provided to: (a) the Office of the United States

Trustee for the Northern District of Texas; (b) the Office of the Attorney General of Texas and




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Louisiana; (c) counsel to the Committee; (d) counsel to CIBC Bank USA; (e) the Department of

Medicaid, Department of Health, and Division of Health Services Regulation in each state in

which the Debtors operate; and (f) those parties who have requested notice pursuant to

Bankruptcy Rule 2002.

         17.     The Debtors respectfully submit that such notice is sufficient and that no further

notice of this Objection is required.

         WHEREFORE, the Debtors respectfully request that the Court deny Individual

Plaintiffs’ requested relief in the Lift Stay Motions and grant such other and further relief as the

Debtors may be justly entitled.


Dated: January 22, 2019                            Respectfully submitted,
       Dallas, Texas
                                                   POLSINELLI PC

                                                   /s/     Trey A. Monsour
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                                                   -and-

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                                                   Possession




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                                       Exhibit A

                                 (Sorted Alphabetically)

#      Debtor Name                                           Case No.           EIN
1.     Alief SCC LLC                                         18-33987           0523
2.     Bandera SCC LLC                                       18-33989           0617
3.     Baytown SCC LLC                                       18-33992           0778
4.     Beltline SCC LLC                                      18-33996           7264
5.     Booker SCC LLC                                        18-33999           0967
6.     Bossier SCC LLC                                       18-34003           2017
7.     Bradford SCC LLC                                      18-34004           9535
8.     Brinker SCC LLC                                       18-34005           7304
9.     Brownwood SCC LLC                                     18-33968           0677
10.    Capitol SCC LLC                                       18-34006           1750
11.    CapWest-Texas LLC                                     18-34008           4897
12.    Cedar Bayou SCC LLC                                   18-34010           8889
13.    Clear Brook SCC LLC                                   18-34012           1877
14.    Colonial SCC LLC                                      18-34014           4385
15.    Community SCC LLC                                     18-33969           7951
16.    Corpus Christi SCC LLC                                18-34016           9807
17.    Crestwood SCC LLC                                     18-34017           7349
18.    Crowley SCC LLC                                       18-33970           6697
19.    CTLTC Real Estate, LLC                                18-34018           0202
20.    Fairpark SCC LLC                                      18-34020           7381
21.    Gamble Hospice Care Central LLC                       18-34022           6688
22.    Gamble Hospice Care Northeast LLC                     18-34025           6661
23.    Gamble Hospice Care Northwest LLC                     18-34027           2044
24.    Gamble Hospice Care of Cenla LLC                      18-34029           4510
25.    Green Oaks SCC LLC                                    18-33971           7218
26.    Harbor Lakes SCC LLC                                  18-33972           7299
27.    Harden HUD Holdco LLC                                 18-34032           1502
28.    Harden Non-HUD Holdco LLC                             18-34035           3391
29.    Harden Pharmacy LLC                                   18-34036           1995
30.    Hearthstone SCC LLC                                   18-34037           9154
31.    Hewitt SCC LLC                                        18-33973           7237
32.    HG SCC LLC                                            18-34040           7415
33.    Hill Country SCC LLC                                  18-34043           4199
34.    Holland SCC LLC                                       18-33974           1427
35.    Hunters Pond SCC LLC                                  18-34045           2886
36.    Jacksonville SCC LLC                                  18-34046           4216
37.    La Hacienda SCC LLC                                   18-34049           1074
38.    Lakepointe SCC LLC                                    18-34050           7457
39.    Major Timbers LLC                                     18-34052           7477
40.    Marlandwood East SCC LLC                              18-34054           1871


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#      Debtor Name                                          Case No.           EIN
41.    Marlandwood West SCC LLC                             18-34058           2192
42.    Meadow Creek SCC LLC                                 18-34064           9278
43.    Midland SCC LLC                                      18-34065           4231
44.    Mill Forest Road SCC LLC                             18-34066           5137
45.    Mission SCC LLC                                      18-33975           8086
46.    Mullican SCC LLC                                     18-34067           7499
47.    Mystic Park SCC LLC                                  18-34068           1898
48.    Normandie SCC LLC                                    18-34069           1542
49.    Onion Creek SCC LLC                                  18-34070           7425
50.    Park Bend SCC LLC                                    18-34071           9410
51.    Pasadena SCC LLC                                     18-34072           1694
52.    Pecan Tree SCC LLC                                   18-34073           4241
53.    Pecan Valley SCC LLC                                 18-34074           9585
54.    Pleasantmanor SCC LLC                                18-34075           7536
55.    PM Management - Allen NC LLC                         18-34076           4961
56.    PM Management - Babcock NC LLC                       18-34077           7829
57.    PM Management - Cedar Park NC LLC                    18-34078           1050
58.    PM Management - Corpus Christi NC II LLC             18-34079           5231
59.    PM Management - Corpus Christi NC III LLC            18-34080           5129
60.    PM Management - Corsicana NC II LLC                  18-34081           9281
61.    PM Management - Corsicana NC III LLC                 18-34082           9353
62.    PM Management - Corsicana NC LLC                     18-34083           1333
63.    PM Management - Denison NC LLC                       18-34084           5022
64.    PM Management - El Paso I NC LLC                     18-34085           2965
65.    PM Management - Fredericksburg NC LLC                18-34086           0599
66.    PM Management - Frisco NC LLC                        18-34087           5082
67.    PM Management - Garland NC LLC                       18-33979           5137
68.    PM Management - Golden Triangle NC I LLC             18-33980           9478
69.    PM Management - Golden Triangle NC II LLC            18-33981           9536
70.    PM Management - Golden Triangle NC III LLC           18-33982           9597
71.    PM Management - Golden Triangle NC IV LLC            18-33983           9654
72.    PM Management - Killeen I NC LLC                     18-33984           3105
73.    PM Management - Killeen II NC LLC                    18-33985           3179
74.    PM Management - Killeen III NC LLC                   18-33986           3245
75.    PM Management - Lewisville NC LLC                    18-33988           5296
76.    PM Management - New Braunfels NC LLC                 18-33990           6293
77.    PM Management - Park Valley NC LLC                   18-33991           7186
78.    PM Management - Pflugerville AL LLC                  18-33993           4007
79.    PM Management - Portland AL LLC                      18-33994           5018
80.    PM Management - Portland NC LLC                      18-33995           4928
81.    PM Management - Round Rock AL LLC                    18-33997           5304
82.    PM Management - San Antonio NC LLC                   18-33998           1216
83.    Presidential SCC LLC                                 18-34000           1913
84.    Redoak SCC LLC                                       18-33976           7569


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#      Debtor Name                                               Case No.           EIN
85.    Riverside SCC LLC                                         18-34001           1889
86.    Round Rock SCC LLC                                        18-34002           8936
87.    Rowlett SCC LLC                                           18-34007           7606
88.    Ruston SCC LLC                                            18-34009           0242
89.    RW SCC LLC                                                18-34011           7631
90.    Sagebrook SCC LLC                                         18-34013           9571
91.    San Angelo SCC LLC                                        18-34015           4254
92.    SCC Edinburg LLC                                          18-34019           1195
93.    SCC Hospice Holdco LLC                                    18-34021           3166
94.    SCC Senior Care Investments LLC                           18-34023           4123
95.    SCC Socorro LLC                                           18-34024           5459
96.    Senior Care Center Management II LLC                      18-34026           1280
97.    Senior Care Center Management LLC                         18-34028           7811
98.    Senior Care Centers Home Health, LLC                      18-34030           1931
99.    Senior Care Centers LLC                                   18-33967           8550
100.   Senior Rehab Solutions LLC                                18-34031           4829
101.   Senior Rehab Solutions North Louisiana LLC                18-34033           1690
102.   Shreveport SCC LLC                                        18-34034           1659
103.   Solutions 2 Wellness LLC                                  18-34038           4065
104.   South Oaks SCC LLC                                        18-34039           8002
105.   Springlake ALF SCC LLC                                    18-34041           2436
106.   Springlake SCC LLC                                        18-34042           9102
107.   Stallings Court SCC LLC                                   18-33977           7393
108.   Stonebridge SCC LLC                                       18-34044           9234
109.   Stonegate SCC LLC                                         18-33978           3005
110.   Summer Regency SCC LLC                                    18-34047           7782
111.   TRISUN Healthcare LLC                                     18-34048           2497
112.   Valley Grande SCC LLC                                     18-34051           1341
113.   Vintage SCC LLC                                           18-34053           7710
114.   West Oaks SCC LLC                                         18-34055           9535
115.   Western Hills SCC LLC                                     18-34056           1922
116.   Weston Inn SCC LLC                                        18-34057           7871
117.   Westover Hills SCC LLC                                    18-34059           3303
118.   Whitesboro SCC LLC                                        18-34060           7745
119.   Windcrest SCC LLC                                         18-34061           9541
120.   Windmill SCC LLC                                          18-34062           8067
121.   Wurzbach SCC LLC                                          18-34063           9920




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